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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI-DADE DIVISION


In re:                                                             Case No.: 15-15051-RAM
                                                                   Chapter 7
QUINTIN LARIOS
MARIA LARIOS

       Debtors,
______________________________________/

WILLIAM GARAY,                                                     Adversary No.: 16-01014-RAM

         Plaintiff,

vs.

QUINTIN LARIOS AND MARIA LARIOS,

       Defendants.
______________________________________/



                               PLAINTIFF’S EXHIBIT AND WITNESS LIST

         Plaintiff, by and through the undersigned counsel, hereby files this Exhibit and Witness List and

states the following:

PRESIDING JUDGE         PLAINTIFF’S            DEFENDANT’S ATTORNEY
Robert A Mark           ATTORNEY               Timothy Kingcade, Esq.
                        Ricardo Corona, Esq.
TRIAL DATE (S)          COURT REPORTER         COURTROOM DEPUTY

PLF.      DEF. NO.      DATE         MARKED    ADMITTED    DESCRIPTION OF EXHIBITS* AND WITNESSES
NO.                     OFFERED

1.                                                         All documents filed in Bankruptcy Case No.: 15-15051-
                                                           RAM


2.                                                         2004 Depositions conducted in Bankruptcy Case No.:15-
                                                           15051-RAM


3.                                                         Articles from the Miami Herald


4.                                                         Sunbiz Corporation Records


5.                                                         Property Records- Deeds, leases, documents evidencing
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                                    transfer of ownership.


6.                                  All Exhibits listed by Defendants


7.                                  Rebuttal evidence and Impeachment Evidence


8.                                  Maria Teresa Larios, c/o Timothy Kingcade, Esq.


9.                                  Quintin Larios, c/o Timothy Kingcade, Esq.


10.                                 Jorge Larios, c/o Timothy Kingcade, Esq.


11.                                 Carmen Larios, c/o Timothy Kingcade, Esq.


12.                                 Felipe A. Valls, Jr., 3663 SW 8TH STREET - THIRD
                                    FLOOR
                                    MIAMI, FL 33135

13.
                                    Nicole Valls, 3663 SW 8TH STREET - THIRD FLOOR
                                    MIAMI, FL 33135


14.                                 Jeanette Valls-Edwards, 3663 SW 8TH STREET -
                                    THIRD FLOOR
                                    MIAMI, FL 33135


15.                                 Dolores Aleman, c/o Corona Law Firm, P.A., 3899 NW
                                    7th Street, Miami, FL 33126


16.                                 Jesus Armestro, c/o Corona Law Firm, P.A., 3899 NW 7th
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17.                                 Jesus Castro, c/o Corona Law Firm, P.A., 3899 NW 7th
                                    Street, Miami, FL 33126


18.                                 Yosbell Diaz, c/o Corona Law Firm, P.A., 3899 NW 7th
                                    Street, Miami, FL 33126


19.                                 Evert Dorta, c/o Corona Law Firm, P.A., 3899 NW 7th
                                    Street, Miami, FL 33126



20.                                 Nelson Espinoza, c/o Corona Law Firm, P.A., 3899 NW
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21.                                 Ernesto Evora, c/o Corona Law Firm, P.A., 3899 NW 7th
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                                    Street, Miami, FL 33126


22.                                 Jose Fernandez, c/o Corona Law Firm, P.A., 3899 NW 7th
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23.                                 Isela Fiestas, c/o Corona Law Firm, P.A., 3899 NW 7th
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24.                                 Dalia Freijo, c/o Corona Law Firm, P.A., 3899 NW 7th
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25.                                 William Garay, c/o Corona Law Firm, P.A., 3899 NW 7th
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26.                                 Antonio Garcia, c/o Corona Law Firm, P.A., 3899 NW 7th
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27.                                 Guillermo Gonzalez, c/o Corona Law Firm, P.A., 3899
                                    NW 7th Street, Miami, FL 33126


28.                                 Luis Gonzalez, c/o Corona Law Firm, P.A., 3899 NW 7th
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29.                                 Adolfo Guerrero, c/o Corona Law Firm, P.A., 3899 NW
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30.                                 Alfonso Guzman, c/o Corona Law Firm, P.A., 3899 NW
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31.                                 Jorge Hung, c/o Corona Law Firm, P.A., 3899 NW 7th
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32.                                 Miguel Infante, c/o Corona Law Firm, P.A., 3899 NW 7th
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33.                                 Merlyn Izquierdo, c/o Corona Law Firm, P.A., 3899 NW
                                    7th Street, Miami, FL 33126


34.                                 Maira Del Carmen Jaime, c/o Corona Law Firm, P.A.,
                                    3899 NW 7th Street, Miami, FL 33126


35.                                 Victor Jimenez, c/o Corona Law Firm, P.A., 3899 NW 7th
                                    Street, Miami, FL 33126


36.                                 Daniel Lopez, c/o Corona Law Firm, P.A., 3899 NW 7th
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                                    Street, Miami, FL 33126


37.                                 Franklin Mariduena, c/o Corona Law Firm, P.A., 3899
                                    NW 7th Street, Miami, FL 33126


38.                                 Leonardo Matos, c/o Corona Law Firm, P.A., 3899 NW
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39.                                 Catalino Miranda, c/o Corona Law Firm, P.A., 3899 NW
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40.                                 Jose Moreno, c/o Corona Law Firm, P.A., 3899 NW 7th
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41.                                 Alejandro Muniz, c/o Corona Law Firm, P.A., 3899 NW
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42.                                 Miguel Norcisa, c/o Corona Law Firm, P.A., 3899 NW 7th
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43.                                 Yohan Ojito, c/o Corona Law Firm, P.A., 3899 NW 7th
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44.                                 Jesus Pardo Guerra, c/o Corona Law Firm, P.A., 3899
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45.                                 Guillermo Perez, c/o Corona Law Firm, P.A., 3899 NW
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46.                                 Osmany Pontigo, c/o Corona Law Firm, P.A., 3899 NW
                                    7th Street, Miami, FL 33126


47.                                 Orlando Rivera, c/o Corona Law Firm, P.A., 3899 NW 7th
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48.                                 Roque Sancan, c/o Corona Law Firm, P.A., 3899 NW 7th
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49.                                 Diosdado Sanchez, c/o Corona Law Firm, P.A., 3899 NW
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50.                                 Jose Soler Gongora, c/o Corona Law Firm, P.A., 3899
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51.                                 Tomas Yzquierdo, c/o Corona Law Firm, P.A., 3899 NW
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52.                                                     Gonzalo Zuleta, c/o Corona Law Firm, P.A., 3899 NW 7th
                                                        Street, Miami, FL 33126


53.                                                     Accountant for Sunset Restaurant Group, Inc.


54.                                                     Attorney or agent which effectuated transfer of lease from
                                                        Casa Larios to CasaCuba Restaurant. (Contact
                                                        Information Unknown at this time)


55.                                                     Any and all witness listed by Defendants.


56.                                                     Rebuttal Witnesses and Impeachment Witnesses




Respectfully submitted,

                                                           CORONA LAW FIRM, P.A.
                                                           3899 NW 7th Street, Second Floor
                                                           Miami, FL 33126
                                                           (305)547-1234 – Telephone
                                                           (305)266-1151 – Facsimile
                                                           Primary Email: amorgado@coronapa.com
                                                           2nd Email: crm@coronapa.com

                                                           By: __/s/ Allyson Morgado, Esq.___
                                                              Ricardo Corona, Esq.,
                                                              FBN 111333
                                                              Allyson Morgado, Esq.
                                                              FL Bar No.: 91506

                                   CERTIFICATE OF SERVICE

      I hereby certify that on March 13, 2017, I electronically filed the foregoing document with the

Clerk of the Court using CM/ECF. I also certify that a true and correct copy of the foregoing

document was served via transmission of Notices of Electronic Filing generated by CM/ECF or

in some other authorized manner for those counsel or parties who are not authorized to receive

electronically Notices of Electronic Filing on all counsel or parties of record.

                                                       _/s/ Allyson Morgado___
                                                       Allyson Morgado
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                                     CERTIFICATE 9011-4(B)(1)

        I hereby certify that I am admitted to the Bar of the United States District Court for the Southern

District of Florida and I am in compliance with the additional qualifications to practice in this court set

forth in Local Rule 2090-1(A).

                                                                 _/s/ Allyson Morgado___
                                                                      Allyson Morgado
